 Exhibit 5
Civil Action No. 1:25-cv-00498
            IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF COLUMBIA


INCLUSIV, INC.,

                        Plaintiff,
                                                 Civil Action No.
   v.                                            1:25-cv-00948

UNITED STATES ENVIRONMENTAL
PROTECTION AGENCY, et al.,

                       Defendants.


                  DECLARATION OF RICARDO LEDEZMA

   I, Ricardo Ledezma, pursuant to 28 U.S.C. § 1746, do hereby state and de-

   clare as follows:

   A. Background

   1. I am President and Chief Executive Officer for Soarion Federal Credit

Union (Soarion). My business address is 1560 Cable Ranch Road, Suite 200,

San Antonio, Texas 78245.

   I am competent to testify concerning matters in this declaration. In my role

at Soarion, I oversee the strategic direction, operational management, and

overall success of the organization. I serve as the highest-ranking executive,

reporting directly to the Board of Directors, and take on the responsibility of

ensuring that our credit union fulfills its mission. My focus is on empowering

our members with simplified financial solutions while also strengthening the

community we serve.
   2. Over the past 25 years in the industry, I have worked in every area of

bank and credit union operations. In 2016, Director Richard Cordray nomi-

nated me to serve on the Consumer Financial Protection Bureau (CFPB) Advi-

sory Council, and I was nominated again in 2017 by Mick Mulvaney. During

my time there, I advocated for and helped design regulations to support Low-

Income and Underserved Financial Services. As a values-conscious entrepre-

neur, I believe in creating products and services that make a positive impact

on society and the environment while remaining financially sustainable—es-

sentially, "doing well by doing good."

   B. Soarion’s History and Background

   3. Founded by servicemen at Lackland Airforce Base in 1952, Soarion fo-

cuses on fostering stronger communities and illuminating paths to brighter

futures for the individuals and families we serve. From our humble beginnings,

Soarion has grown into a financial institution that empowers more than 55,000

members through simplified financial solutions.

   4. Soarion serves a diverse population, focusing on low-income and histor-

ically underserved communities in the San Antonio, Texas area.

   5. Many residents in these communities face significant economic chal-

lenges, to include lower-than-average median household incomes, limited ac-

cess to affordable credit, and higher poverty rates compared to national aver-

ages.




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   6. In these financial deserts, residents often face no other option than to

rely on high-cost alternatives like payday lenders, which can perpetuate cycles

of financial hardship.

   7. Soarion works to ensure households in these communities can build re-

siliency without facing prohibitive costs or high interest rates.

   8. For example, Soarion’s home improvement financing program, HomeX,

helps homeowners protect and enhance valuable assets while also supporting

local contractors.

   C. Soarion CCIA Grant Application Process

   9. Soarion has been a member of Inclusiv’s network of community develop-

ment credit unions since August 2024.

   10. Soarion first learned about Inclusiv’s Clean Communities Investment

Accelerator (CCIA) grant in Fall 2024. Soon after, Soarion decided to apply for

a CCIA grant from Inclusiv.

   11. Following Inclusiv’s written guidance, Soarion started its application

process by submitting a prequalification form. Inclusiv informed Soarion that

it was pre-qualified for a grant in December 2024.

   12. Because Soarion pre-qualified for a CCIA grant from Inclusiv, it was

automatically eligible to attend the University of New Hampshire’s Solar and

Green Lending Training and Technical Assistance Program.

   13. Over the months that followed, Soarion put together its formal grant

application for Inclusiv. Completing this application was a two-month effort,

during which we gathered essential documentation and thoughtfully


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articulated our strategic vision for using the funds to create meaningful, last-

ing impact in our community. Soarion submitted its application on 01/17/2025.

   14. On February 18, 2025, Soarion learned that Inclusiv had awarded it an

$11 million CCIA grant.

   D. Soarion’s Plans for CCIA Grant Funds

   15. Soarion will use CCIA grant funds to build upon HomeX, our existing

home improvement financing program. With the funds, Soarion will add a

clean energy component to this program by offering loans to support clean en-

ergy and energy efficiency projects. Such projects include solar installations,

energy-efficient HVAC systems, and electric vehicles.

   16. The funds will allow Soarion to offer interest rates significantly more

competitive than those provided by for-profit lenders.

   17. This will ensure that financing remains accessible and affordable for

low-income families. It will also reduce financial barriers that often prevent

these households from being able to undertake energy-efficient upgrades.

   18. The impact will reach beyond immediate financial benefits. Members

will see reduced utility bills and enhanced home values. The environmental

sustainability of their communities will be strengthened. Their quality of life

will improve.

   19. Without the CCIA grant, Soarion Credit Union will face significant lim-

itations in our ability to scale clean energy financing solutions for the low-in-

come and disadvantaged communities we serve. The absence of this funding

would slow the development of accessible loan products aimed at reducing


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household energy costs, improving home resilience, and lowering environmen-

tal impact. It would also limit our capacity to partner with local contractors

and community organizations that are critical to delivering these solutions eq-

uitably.

More broadly, our community would miss a transformative opportunity to par-

ticipate in the clean energy transition—an opportunity that not only supports

environmental sustainability but also economic mobility. Without this grant,

families already burdened by high energy bills and aging infrastructure may

continue to fall behind, deepening existing inequities rather than closing the

gap.




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I declare under penalty of perjury that the foregoing is true and correct.

Dated: March 31, 2025



                                             /s/ Ricardo Ledezma

                                           RICARDO LEDEZMA

                                           Soarion Federal Credit Union

                                           San Antonio, Texas




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